
PER CURIAM.
Peter Obermeyer, who successfully obtained the dismissal of the foreclosure action filed against him by the Bank of New York, appeals the trial court's final judgment denying attorney's fees and costs for litigating the amount of attorney's fees. Based on our longstanding precedent, we affirm. N. Dade Church of God, Inc. v. JM Statewide, Inc., 851 So.2d 194, 196 (Fla. 3d DCA 2003) ("It is settled that in litigating over attorney's fees, a litigant may claim fees where entitlement is the issue, but may not claim attorney's fees incurred in litigating the amount of attorney's fees."). See generally State Farm Fire &amp; Cas. Co. v. Palma, 629 So.2d 830, 833 (Fla. 1993) ("fees may be awarded for litigating the issue of entitlement to attorney's fees but not the amount of attorney's fees"). But see *431Waverly at Las Olas Condo. Ass'n, Inc. v. Waverly Las Olas, LLC, 88 So.3d 386, 389 (Fla. 4th DCA 2012) (finding certain contractual language "broad enough to encompass fees incurred in litigating the amount of fees").
Affirmed.
